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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                               BUTTE DIVISION
                  ___________________________________________
                                         )
HOLBROOK HOLDINGS, INC.                  )     CAUSE NO.: CV-24-175-BU-JTJ
                                         )
             Plaintiff,                  )     Judge John Johnston
                                         )
       v.                                )     DEFENDANT MARC COHODES’
                                         )     SPECIAL MOTION TO STRIKE/
MARC COHODES,                            )     ANTI-SLAPP MOTION PURSUANT
                                         )     TO O.C.G.A. § 9-11-11.1
            Defendant.                   )

                  ________________________________________________

      Defendant Marc Cohodes (“Cohodes”), by and through his counsel of record,

hereby submits this Motion pursuant to O.C.G.A., § 9-11-11, Georgia’s “Anti-

SLAPP” statute, as Georgia substantive law applies to this action and the statements

which form the basis of Plaintiff Holbrook’s claims against Cohodes were

statements made by Cohodes in furtherance of his right to free speech in connection

with an issue of public interest or concern which could affect large numbers of

people beyond the direct participants. Further, the subject of the speech, Holbrook,

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was an entity in the public eye. Accordingly, this Court must strike Holbrook’s

claims against Cohodes as there is no probability that Holbrook has will prevail on

the claim.

      Counsel for Holbrook has been contacted regarding this Motion pursuant to

Local Rule 7.1(c)(1) and object to it.



      DATED this 25th day of February, 2025.

                                               STACEY & FUNYAK

                                         By:   /s/Calvin J. Stacey
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                                               Counsel for Defendant Marc Cohodes




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                         CERTIFICATE OF SERVICE

      I hereby certify that on the 25th day of February, 2025, a copy of the foregoing
Defendant Marc Cohodes’ Special Motion to Strike/Anti-SLAPP Motion
Pursuant to O.C.G.A. § 9-11-11.1 was served upon the following counsel of record
by the following means:
      1,2,3        CM/ECF
                   Hand Delivery
                   U.S. Mail

1.    Clerk of Court
2.    Matthew J. Kelly
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                                              By:    /s/Calvin J. Stacey




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